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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
          Plaintiff,
     vs.                                           Crim. No. 05-1849 JH

DANA JARVIS, AYALA JARVIS,
GEORGE RIPLEY, RUSSELL TRUJILLO,
MATTHEW HOTHAN, MANUEL GIL,
SAM JONES, and MARY CANNANT,
          Defendants

                               NOTICE OF HEARING
TO:
 Joe M. Romero, Jr. Esq.                James Braun, AUSA
 John Robbenhaar, Esq.                  P.O. Box 607
 Jason Bowles, Esq.                     Albuquerque, NM 87102
 D. Penni Adrian, Esq.
 Stephen Aarons, Esq.
 Timothy Padilla, Esq.
 Kirtan Khalsa, Esq.
 Ann Steinmetz, Esq.


             PLEASE TAKE NOTICE that an Arraignment on the Superseding

Indictment has been set in the above matter for Thursday, May 4,

2006, at 9:30 am, before the Honorable Lorenzo F. Garcia, Chief

U.S. Magistrate Judge, Pecos Courtroom, 3rd Floor, 333 Lomas Blvd.,

N.W., Albuquerque, New Mexico.


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                                          Matthew J. Dykman,Clerk

Please direct all inquiries to: Kimberly Dapson
                                Courtroom Deputy
                                (505) 348-2053

cc:   U.S. Pre-trial
